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         ORDERED in the Southern District of Florida on December 10, 2024.




                                                          Erik P. Kimball
                                                          Chief United States Bankruptcy Judge
_____________________________________________________________________________



                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH DIVISION
         In re:
                                                          )      Case No. 24-20655-MAM
                                                          )      Chapter 11 (Sub V)
         THE BLUE DOG IN BOCA, INC.                       )
                                                          )
                        Debtor.                           )
                                                          )

                 AGREED ORDER GRANTING SIMON PROPERTY GROUP, INC.’S
               EMERGENCY MOTION FOR CONTEMPT FOR FAILURE TO COMPLY
              WITH THIS COURT’S ORDER GRANTING, IN PART, AND DENYING, IN
              PART, DEBTOR’S MOTION TO COMPEL PAYMENT OF POST-PETITION
               RENT AND RELIEF FROM THE STAY DUE TO THE CONTEMPT AND
                      VIOLATION AND CANCELING HEARINGS SET FOR
                        DECEMBER 11, 2024, AND DECEMBER 23, 2024

                  THIS MATTER comes before the Court upon the Emergency Motion for Contempt for

         Failure to Comply with this Court’s Order Granting, in Part, and Denying, in Part, Motion to

         Compel Payment of Post-Petition Rent [DE #59] filed by SIMON PROPERTY GROUP, INC. as

         authorized agent for BRIAN J. MCDADE, as Trustee of THE TOWN CENTER AT BOCA

         RATON TRUST, a New York Trust, and the Court having reviewed the file and the Motion, and


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been advised of the agreement of the parties, it is

       ORDERED and ADJUDGED, as follows:

       1.      SIMON PROPERTY GROUP, INC. as authorized agent for BRIAN J.

MCDADE, as Trustee of The Town Center at Boca Raton Trust, a New York Trust’s (the

“Landlord”) Emergency Motion for Contempt for Failure to Comply with this Court’s Order

Granting, in Part, and Denying, in Part, Motion to Compel Payment of Post-Petition Rent (the

“Motion”)[DE #59] is GRANTED in part, as more fully set forth below.

       2.      The Debtor is directed to make the following rent payments (the “Rent

Payments”) to the Landlord as adequate protection:

            a. The outstanding November 2024 rent in the amount of $25,415.00 shall be paid

               no later than December 13, 2024.

            b. The December 2024 rent in the amount of $37,415.00 shall be paid no later than

               December 20, 2024.

            c. Beginning January 2025 and for each month thereafter, the Debtor shall make the

               full rent payment of $37,415.00 to the Landlord when due under the Lease

               agreement between the parties, which is on or before the first (1st) day of each

               month.

       3.      The Rent Payments shall be made by wire transfer using wire instruction previously

provided to the Debtor by the Landlord.

       4.      The Debtor shall be in compliance with this Order by timely making all Rent

Payments to the Landlord. The Debtor shall be in Default under this Order if it fails to make the

Rent Payments when due and does not cure such default as set forth in paragraph 5 below.

       5.      In the event the Debtor defaults by failing to pay any of the Rent Payments when

due, then Landlord through its counsel, shall provide written notice of default to Debtor’s counsel


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via email at rocky@lawcls.com. In the event the Default is not cured within seven (7) days after

Landlord provides notice to Debtor’s counsel of the Default, Landlord shall file an Affidavit of

Default with this Court. The Affidavit of Default shall set forth specific facts establishing that: (a)

a default occurred; (b) Landlord (or its attorneys) provided Debtor’s counsel with email

notification of the default; and (c) Debtor failed to cure the default within the seven (7) day period.

Upon the filing of the Affidavit of Default, Landlord shall be entitled to an Order Granting

immediate stay relief without further hearing.

       6.       The additional relief requested in the Landlord’s Motion is DENIED, without

prejudice.

       7.       The hearing on the Motion for Contempt [DE #59] scheduled for December 11,

2024, at 1:30 p.m. is canceled as a result of the relief set forth in this Order.

       8.       The hearing on the Motion for Relief from Stay and/or Motion for Adequate

Protection Filed by Creditor Simon Property Group, Inc. [DE #50] scheduled for hearing on

December 23, 2024, at 02:30 pm is hereby canceled as moot.

       9.       The Court retains jurisdiction to enforce the terms of this Order.



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Submitted by:

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Craig I. Kelley, Esq. is directed to serve a copy of the signed order on all parties of record and
file with the court a certificate of service conforming with Local Rule 2002-1(F).




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